     Case 5:17-cr-00239-PA Document 18-1 Filed 02/09/18 Page 1 of 2 Page ID #:70



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9    UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. 5:17-239-PA

13             Plaintiff,                    [PROPOSED] ORDER CONTINUING
                                             PRETRIAL DATES
14                   v.

15   MELVIN EDWARDS, III,
     Aka Melvin Thai Edwards,
16   Aka Jack Edwards,
17             Defendant.

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20        The Court has read and considered the Stipulation To Continue
21   Pretrial Dates, filed by the parties in this matter on February 9,
22   2018.   The Court hereby finds that the Stipulation, which this Court
23   incorporates by reference into this Order, provides good cause to
24   continue the pretrial dates in this matter.
25   //
26   //
27   //
28
     Case 5:17-cr-00239-PA Document 18-1 Filed 02/09/18 Page 2 of 2 Page ID #:71



1         THEREFORE, FOR GOOD CAUSE SHOWN:

2         1.   On or before March 5, 2018, the parties shall file pre-

3    trial motions;

4         2.   On or before March 12, 2018, the parties shall file

5    oppositions to the pre-trial motions; and

6         3.   On or before March 19, 2018, the parties shall file

7    replies, if any, to the pre-trial motions.

8         4.   The status conference shall remain set for March 26, 2018.

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10        IT IS SO ORDERED.

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12
      DATE                                    HONORABLE PERCY ANDERSON
13                                            UNITED STATES DISTRICT JUDGE
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16   Presented by:
17       /s/
     JULIA S. CHOE
18   Assistant United States Attorney
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